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                               UNITED STATES DISTRICT COURT

                              WESTERN DISTRICT OF ARKANSAS


WILLIAM EDWARD WOODS                                            CIVIL ACTION

VERSUS                                                         NUMBER           /5- U/j2
GLEN SMITH and AMERICAN                                         JUDGE   ~~~~-~~~--



HOMEPATIENT, INC.                                               MAGIS TRATE- - - - - - -

                                            COMPLAINT

         Come now Plaintiffs and for their original Complaint at Law against the Defendant(s),

state:

                           I. PARTIES, JURISDICTION AND VENUE

1.       The action herein is a civil action to recover for personal injuries sustained by WILLIAM

EDWARD WOODS (hereinafter Plaintiff) as a result of actionable conduct on the part of the

defendant(s).

2.       Plaintiffs are now and at all relevant times hereto residents of the State of Louisiana.

3.        Named Defendant, GLEN SMITH, (hereinafter Smith) who is now and at all relevant

times hereto a resident of and domiciliary of the State of Arkansas who may be served at 7806

Holy Ridge, Benton, Arkansas, 72015;

4.       Named Defendant, AMERICAN HOMEPATIENT, INC., is a foreign company whose

principal place of business is in Brentwood, Williamson County, Tennessee.

5.       This action concerns injuries occurring in Garland County, Arkansas, on or about

October 18, 2013.

6.          Therefore, complete diversity of citizenship exists between the parties and the amount

in controversy exceeds $75,000.00 including interest and costs.          Plaintiffs seek recovery in




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excess of the minimum amount required for purposes of federal diversity jurisdiction, and venue

properly lies herein by virtue of28 USC§ 1332.

7.          Further, venue is proper as Defendant GLEN SMITH resides in this district, and the

incident occurred in this district.


                      II. BACKGROUND FACTS AND ALLEGATIONS

8.          Plaintiffs' claims are brought pursuant to the general principles of tort.

9.          On or about October 18, 2013, petitioner, WILLIAM EDWARD WOODS, owned

and operated a 2002 Honda Goldwing motorcycle, traveling on Central A venue, in Hot Springs,

Arkansas, when he stopped for pedestrians at the intersection of Central A venue and Canyon

Lane.

10.     Thereupon defendant, GLEN SMITH, operating a 2008 Dodge SP3, owned by

AMERICAN HOMEPATIENT, INC., and traveling behind Plaintiff, failed to stop, causing his

vehicle to strike the rear of the "Woods" motorcycle.

11.     The defendant, GLEN SMITH, was negligent in that he failed to keep a proper lookout

for other vehicles; following to close; failing to yield to preceding traffic; failing to allow

adequate space and time in traffic to allow him to stop; and was negligent for other reasons to be

shown at a hearing thereof.

12.     Plaintiff, WILLIAM EDWARD WOODS, was not negligent in the accident.

13.     Said accident, resulted in injuries and damages to your petitioner, WILLIAM EDWARD

WOODS, was a direct and proximate result of the negligence and/or fault of defendants, GLEN

SMITH and AMERICAN HOMEPATIENT, INC.




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14.     Petitioner, WILLIAM EDWARD WOODS, was caused to suffer severe and permanently

disabling injuries as a result of said accident. Accordingly, petitioner itemizes his damages as

follows:

        A.      Medical expenses, past, present and future in an amount reasonable in

        the premises;

        B.      Lost wages, past, present and future in an amount reasonable in the

        premises;

        C.      Impairment of earning capacity, past, present and future, in an amount

                reasonable in the premises;

        D.      Property damages; and

        E.      General damages, including pain, suffering, disability, mental anguish

        and loss of enjoyment of life; past, present, and future; in an amount

        reasonable in the premises.

18.      That Plaintiff respectfully demands trial by jury.

        WHEREFORE, premises considered, Plaintiff prays for judgment over and against

Defendants, jointly and severally, in an amount in excess of that required for purposes of federal

diversity jurisdiction.




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